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                                                             March 7, 2023

VIA ECF
The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:     United States v. Ng Chong Hwa a.k.a Roger Ng, 18 Cr. 538 (MKB)

Dear Chief Judge Brodie:

        We write on behalf of Mr. Ng in the above-captioned case. Sentencing is scheduled for
Thursday, March 9th at 11 am. Mr. Ng’s family and supporters overseas would very much like to
attend sentencing; however, due to visa restrictions and health issues, they cannot fly to New York.
We respectfully request that this Court provide a public dial-in, which would allow Mr. Ng’s
family and supporters to attend the sentencing from abroad.

                                                             Respectfully submitted,



                                                             Marc A. Agnifilo

cc:    Counsel for the Government (via ECF)
